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IN THE UNITED STATES I)ISTRICT COURT 05
FoR THE WESTERN DISTRICT oF TENNESSEE JUN 22 PH Iz}- g <
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WACHOVIA COMMERCIAL
MORTGAGE, INC., d/b/a Wachovia
Small Business Capital, and formerly
known as The Money Store Commercial

Mortgage
Plaintiff,
vs. Civ. No. 05-2256-MA/P

SANDHYA HOTELS, LLC, CHARLES
S. MORAIS, and SUNIL P. MIR,

Defendants.

 

SCHEDULING ORDER

 

Pursuant to Writ'ten notice, a Scheduling conference Was held on Thursday, June 23, 2005
before the Honorable Tu M. Pham, United States Magistrate Juclge for the Western District of
Tennessee. Present were J ames R. Newsorn III and Timothy D. Patterson, counsel for plaintiff, and
Roscoe A. Feild, counsel for defendants At the conference, the following dates were established
as the flnal dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): Friday, July 8, 2005.
JOINING PARTIES: Tuesday, August 23, 2005.

AMENDING PLEADINGS: Tuesday, August 23, 2005.

INITIAL MOTIONS TO DISMISS: Friday, September 23, 2005.

COMPLETING ALL DISCOVERY: Friday, February 24, 2006.

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with Hufe 58 end/or 79(£1) FRCP on "’

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(a) DOCUMENT PRODUCTION: Friday, February 24, 2006.

(b) DEPoslTloNs, INTERROGATORIES AND REQUESTS FoR
ADMISSIONS: Friday, Februaly 24, 2006.

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: Friday, December 23, 2005.

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: Monday, February 23, 2006.

(3) EXPERT WITNEss DEPosITIoNs: Friday, February 24, 2006.
FILING DISPOSITIVE MoTloNs: Friday, March 24, 2006.
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date, All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in advance
of the discovery cuto ff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date,

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or the service of the response, answer, or obj ection, which is the subject of the
motion, if the default occurs Within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the default, response, answer, or
objection Shall be waived.

This case is set for a non-jury trial. The pretrial order date, pretrial conference date, and trial
date will be set by the presiding judge. lt is anticipated that the trial Will last approximately one to
two (1-2) days.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule 1 1 (a)(l)(A), all motions, except motions
pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is

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necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to trial

before the magistrate judge. The parties will file a written consent form with the court should they
decide to proceed before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this order will not be modified or extended.

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IT IS SO ORDERED.

 

rU M. PHAM

United States Magistrate Judge
J m 2 3 Mf

Date

 

APPROVED FOR ENTRY BY:

HARRIS S LTON HANOVER WALsH, PLLC

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02256 was distributed by fax, mail, or direct printing on
June 22, 2005 to the parties listed.

ESSEE

 

Timothy D. Patterson

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Honorable Samuel Mays
US DISTRICT COURT

